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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. No. 25-MJ-91

ELIAS RODRIGUEZ

ORDER

Upon consideration of the defendant’s Motion and for good cause shown, it is hereby
ORDERED that Eric K. Klein is appointed as CJA learned counsel to represent the defendant
Elias Rodriguez. This is a CJA 30 appointment.

It is FURTHER ORDERED that the nunc pro tunc date of the appointment is June 9,

2025.
JA a
Date: June 17, 2025 Z ea
James,E: Boasberg

Chief Judge
